  Case 3:20-mj-06006-DEA Document 19 Filed 05/24/22 Page 1 of 3 PageID: 45




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               :    Hon. Douglas E. Arpert
                                       :
      v.                               :    Mag. No. 20-6006 (DEA)
                                       :
DAEVON BELL,                           :    ORDER FOR A CONTINUANCE


      This matter having come before the Court on the joint application of

Philip R. Sellinger, United States Attorney for the District of New Jersey

(by Michelle S. Gasparian, Assistant United States Attorney), and defendant

Daevon Bell, (by Brian P. Reilly, Esq.), for an order granting a continuance of

the proceedings in the above-captioned matter from the date this Order is

signed through August 15, 2022 to permit defense counsel the reasonable time

necessary for effective preparation in this matter and to allow the parties to

discuss the matter and conduct plea negotiations in an effort to resolve the

case before grand jury proceedings and trial; and the defendant being aware

that he has the right to have the matter submitted to a grand jury within 30

days of the date of his arrest pursuant to Title 18, United States Code, Section

3161(b); and five prior continuances having been entered; and the defendant,

through his attorney, having consented to the continuance; and for good and

sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:
  Case 3:20-mj-06006-DEA Document 19 Filed 05/24/22 Page 2 of 3 PageID: 46




      (1)   The parties anticipate exchanging discovery and entering into plea

negotiations, which would render any grand jury proceedings and any

subsequent trial of this matter unnecessary;

      (2)   The failure to grant such a continuance would deny counsel for the

defendant or the attorney for the government the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence;

      (3)   The defendant has consented to the aforementioned continuance;

      (4)   The grant of a continuance will likely conserve judicial resources;

and

      (5)   Pursuant to Title 18, United States Code, Section 3161(h)(7), the

ends of justice served by granting the continuance outweigh the best interests

of the public and the defendant in a speedy trial.

      WHEREFORE, it is on this 24th day of May, 2022;

      ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through August 15, 2022; and it is further




                                        2
  Case 3:20-mj-06006-DEA Document 19 Filed 05/24/22 Page 3 of 3 PageID: 47




      ORDERED that the period from the date this Order is signed through

August 15, 2022 shall be excludable in computing time under the Speedy Trial

Act of 1974.



                                     HON. DOUGLAS E. ARPERT
                                     United States Magistrate Judge



Form and entry consented to:


 Michelle S. Gasparian
Michelle S. Gasparian
Assistant United States Attorneys


s/Brian P. Reilly
Brian P. Reilly, Esq.
Counsel for Defendant, Daevon Bell




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